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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          10/16/2020
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                                                            :
   SARA MARTINEZ,
                                                            :
                                                            :
                                             Plaintiff,
                                                            :        15-cv-515 (ALC)
                                                            :
                     -against-
                                                            :        ORDER OF DISCONTINUANCE
                                                            :
   NEW YORK CITY HEALTH AND
                                                            :
   HOSPITALS CORPORATION
                                                            :
   (NYCHHC), ET AL.,
                                                            :
                                                            :
                                          Defendants.
                                                            :
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ANDREW L. CARTER, JR., United States District Judge:

         It having been reported to the Court that this case has been or will be settled, it is hereby

ORDERED that the above-captioned action is discontinued without costs and without prejudice

to restoring the action to this Court’s calendar if the application to restore the action is made

within thirty days.

Dated:           October 16, 2020
                 New York, New York

                                                                _______________________________
                                                                 HON. ANDREW L. CARTER, JR.
                                                                    United States District Judge




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